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04

05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )             Case No. CR05-260 RSL-JPD
08               Plaintiff,               )
                                          )
09         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
10   PEGGY LEE WHITE,                     )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
11               Defendant.               )
     ____________________________________ )
12

13          An evidentiary hearing on a petition for violation of supervised release in this case was

14 scheduled before the undersigned Magistrate Judge on August 18, 2006. The United States was

15 represented by Assistant United States Attorney Todd Greenberg, and the defendant by Mr.

16 Robert M. Leen. The proceedings were recorded on cassette tape.

17          The defendant had been charged and convicted of Interstate Transportation in

18 Furtherance of Prostitution, in violation of 18 U.S.C. §§ 2422(a) and 2. On or about May 5,

19 2006, defendant was sentenced by the Honorable Robert S. Lasnik to a term of 217 days of

20 custody (time served), followed by four (4) years of supervised release.

21          The conditions of supervised release included the requirements that the defendant comply

22 with all local, state, and federal laws, and with the standard conditions. Special conditions

23 imposed included, but were not limited to, substance-abuse treatment participation, mental health

24 treatment as directed which could include participation in treatment provided by the SAGE

25 project, and restrictions on self-employment.

26          In a Petition for Warrant or Summons, and a Notice of Violation and Request for Warrant

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01 both dated June 6, 2006, U.S. Probation Officer Brieanne E. Olsen asserted the following

02 violations by defendant of the conditions of her supervised release:

03          Violation No. 1: Failing to participate in and complete drug dependency treatment by

04 leaving SafeHouse in San Francisco, California, in violation of special condition number one.

05          Violation No. 2: Failing to participate in and complete mental health treatment in San

06 Francisco, California, in violation of special condition number three.

07          Violation No. 3: Failing to notify the probation officer at least ten days prior to any

08 change in residence, in violation of standard condition number six.

09          On August 11, 2006, the defendant made her initial appearance on the petition. She was

10 advised of her rights, and denials to the alleged violations were entered. An evidentiary hearing

11 was scheduled for August 18, 2006 before the undersigned Magistrate Judge. The defendant was

12 ordered detained pending the evidentiary hearing.

13          On August 18, 2006, the defendant was advised of her rights relating to a hearing, waived

14 those rights, and admitted the alleged violations.

15          I therefore recommend that the Court find the defendant to have violated the terms and

16 conditions of her supervised release as to violation No. 1, 2 and 3 and that the Court conduct a

17 hearing limited to disposition. A disposition hearing on these violations has been set before the

18 Honorable Robert S. Lasnik on Tuesday, September 5, 2006 at 10:30 a.m.

19           Pending a final determination by the Court, the defendant has been detained.

20          DATED this 21st day of August, 2006.

21

22
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
23

24
     cc:    District Judge:               Honorable Robert S. Lasnik
25          AUSA:                         Mr. Todd Greenberg
            Defendant’s attorney:         Mr. Robert M. Leen
26
            Probation officer:            Ms. Brieanne E. Olsen

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